Case 1:19-md-02875-RMB-SAK   Document 296-14   Filed 11/18/19   Page 1 of 11
                              PageID: 3879




                       Exhibit 14
Case 1:19-md-02875-RMB-SAK                                             Document 296-14                      Filed 11/18/19           Page 2 of 11
                                                                        PageID: 3880
                                                                                                              USOO6294.197 B1

 (12) United States Patent                                                                    (10) Patent No.:              US 6,294,197 B1
        Wagner et al.                                                                         (45) Date of Patent:                   Sep. 25, 2001

 (54) SOLID ORAL DOSAGE FORMS OF                                                           Muller, P., Cohen, T., de Gasparo, M., Sioufi, A., Racine
          WALSARTAN                                                                        Poon, A., Howald, H. 1994. Angiotenwin II receptor block
 (75) Inventors: Robert Frank Wagner, Neshanic                                             ade with Single doses of Valsartan in healthy, normotensive
                 Station, NJ (US); Yoshimitsu                                              subjects. Eur. J. Clin. Pharmacol. 47: 231–245.*
                 Katakuse, Hirakata (JP); Takashi                                          Fujimura, Y., Yamamoto, S., Ueda, H., Nakao, k. 1995.
                 Taike, Kobe (JP); Fujiki Yamato,
                 Takarazuka (JP); Manfred Kohlmeyer,                                       Antihypertensive effect of a combination of Valsartan and
                 Basel (CH)                                                                hydrochlorothiazide, nifedipine or propranolol in Spontane
 (73) Assignee: Novartis AG, Basel (CH)                                                    ously hypertensive rats. Yakuri to Chiryo 23: 3241-3247.*
   * Y Not
        Otice:           Subj
                          ubject to anyy disclaimer,
                                         disclai      h term off this
                                                     the         thi                       “Innovatives Antihypertensives.” Therapiewoche 36, pp.
                         patent is extended or adjusted under 35                           1882–1985 (1996).
                 U.S.C. 154(b) by 0 days.
                                                                                           Chemical Abstracts 124:220073 (1996).
 (21) Appl. No.:      09/202,805
                                                                                           Dialog: Derwent Drug File-Abstract AN: 96-09445
 (22) PCT Filed:     Jun. 18, 1997                                                         (1996).
 (86) PCT No.:        PCT/EP97/03172
                                                                                           Dialog: Drug Data Report-Abstract AN 185987 (1992).
          S371 Date:            May 7, 1999
      S 102(e) Date: May 7, 1999                                                           Dialog: JICST Eplus-Abstract AN:96AO157433 (1995).
 (87) PCT Pub. No.: WO97/49394                                                             Embase: Abstract 96015489 (1995).
          PCT Pub. Date: Dec. 31, 1997                                                     Embase: Abstract AN-96–374183 (1996).
 (30)         Foreign Application Priority Data                                            Embase: Abstract AN-97-027003 (1997).
   Jun. 27, 1996        (GB) .................................................. 96.13470   Fujimura Y. et al., “Antihypertensive effect of a combination
 (51) Int. Cl." ....................................................... A61K 9/20          of Valsartan ... ', Yakuri to Chiryo, vol. 23, No. 12, 1995,
 (52) U.S. Cl. .......................... 424/465; 424/464; 424/489;                       pp. 3241-3247.
                                     514/223.5; 514/223.2; 514/222.8
 (58) Field of Search ..................................... 424/465, 464,                  Grun, A. et al., “A comparison of the efficacy and
                             424/479, 489; 514/772.5, 228.8, 223.5                         tolerability ... ', European Heart Journal, vol. 161, No. Sup.
 (56)                        References Cited                                              (1995), p. 61.
                    U.S. PATENT DOCUMENTS                                                  Lachman, L. et al., “The Theory and Practice of Industrial
        3,200,039   8/1965 Thompson, Jr. ....................... 167/82                    Pharmacy,” Lea & Febiger, 1986, pp. 318-320.
        4,353,887 10/1982 Hess et al. ............................. 424/15                 Markham, A. et al., “Valsartan: a review of its pharmacology
        4,748,023 * 5/1988 Tamas et al. .                       ... 424/465
        4,952,410 * 8/1990 Armah et al. .........               ... 424/465                and therapeutic use ... ", Drugs, vol. 54, No. 2, (1997) pp.
        5,399,578   3/1995 Bühlmayer et al. ..                  ... 514/381                299-311.
        5,464,854 11/1995 dePadova ..............              ... 514/381
        5,486,364   1/1996 King et al. ...                      ... 424/488                Toxlit: Abstract AN-96:69983 (1995).
        5,501,861 * 3/1996 Makino et al. ...                     ... 424/464
        5,527,543 * 6/1996 Dopper et al. ...                    ... 424/489
        5,994,348 11/1999 Ku et al. ........................... 514/223.5                  * cited by examiner
                FOREIGN PATENT DOCUMENTS
     2421. 273         11/1974 (DE).                                                       Primary Examiner Thurman K. Page
        11490           5/1980 (EP).                                                       ASSistant Examiner-Liliana Di Nola-Baron
       70 127           1/1983 (EP).
     396 335A          11/1990 (EP).                                                       (74) Attorney, Agent, or Firm-Diane P. Tso
  WO93/15732            8/1993 (WO).
     94 09778           5/1994 (WO).                                                       (57)                   ABSTRACT
     95 24901           9/1995 (WO).
     95 28927          11/1995 (WO).                                                       The present invention is concerned with Solid dosage forms
     95 29674          11/1995 (WO).                                                       comprising a) Valsartan and optionally HCTZ, and b) phar
                       OTHER PUBLICATIONS                                                  maceutically acceptable additives Suitable for the prepara
 Lachman, L., Lieberman, HA and Kanig, JL. 1986. The                                       tion of Solid oral dosage forms by compression methods.
 Theory and Practice of Industrial Pharmacy. Lea & Febiger
 Eds. Philadelphia. pp. 318-320.*                                                                            53 Claims, No Drawings
Case 1:19-md-02875-RMB-SAK                         Document 296-14                 Filed 11/18/19             Page 3 of 11
                                                    PageID: 3881

                                                     US 6,294,197 B1
                               1                                                                2
            SOLID ORAL DOSAGE FORMS OF                              determined by a perSon Skilled in the art by routine experi
                    WALSARTAN                                       mentation and with no undue burden.
                                                                   In a Solid oral dosage form according to the invention
    The invention relates to Solid oral dosage forms contain    wherein the active agent consists entirely of Valsartan or a
 ing Valsartan, in particular Solid oral dosage forms contain   pharmaceutically acceptable Salt thereof, it is preferred if the
 ing Valsartan and hydrochlorothiazide (HCTZ) and a process active agent is present in an amount of from 10 to 250 mg,
 of forming the Same.                                           more preferable 40 to 160 mg, most preferably 40 to 80 mg,
     The angiotensin II receptor antagonist-Valsartan-is e.g. 40, 80 or 160 mg.
 known to be effective in the treatment of congestive heart        The active agent Valsartan is particularly Suitable for
 failure and reducing blood preSSure irrespective of age, SeX combination with other active agents, e.g. HCTZ.
 or race and is also well tolerated. Its combination with          Accordingly, in an further embodiment of the invention
 HCTZ is also known for the treatment of hypertension.          there is provided a Solid oral dosage form as hereinabove
     The oral administration of Such pharmaceutical agents as described additionally containing HCTZ as a component of
 tablets or capsules has certain advantages over parenteral 15 the active agent.
 administration Such as i.V. or i.m.: DiseaseS requiring treat     It has been found that Valsartan, or a pharmaceutically
 ment with painful injectable formulations are considered to acceptable Salt thereof, combined in a dose range from about
 be more Serious than those conditions which can be treated     10 to 250 mg with hydrochlorothiazide in a dose range from
 with oral dosage forms. However, the major advantage with about 6 to 60 mg, is suitable for more efficient treatment of
 oral formulations is held to be their suitability for self hypertension. With these dose ranges of the combined active
 administration whereas parenteral formulations have to be agents, Valsartan is found to have a greater efficacy in
 administered in most cases by a physician or paramedical reducing elevated blood pressure to normal levels than it
 perSonnel.                                                     would have if used at the same dose range in monotherapy.
     However, Valsartan is difficult to formulate and hereto 25 Moreover, when hydrochlorothiazide is being administered
 fore it has not been possible to make oral formulations in the in combination with Valsartan, the diuretic agent is more
 form of tablets in a reliable and robust way.                  effective as compared to monotherapy at the dose range
     Capsules are undesirable Since large capsules must be indicated. Particularly suitable is a dose range from about 50
 used to accommodate effective amounts of active agent, and 100 mg Valsartan or a pharmaceutically acceptable Salt
 which in the case of Valsartan, is of low density and is thereof and from about 10 to 30 mg hydrochlorothiazide.
 therefore rather bulky.                                        More preferred is a unit dose of about 80 mg Valsartan and
     We have now found a Solid oral dosage form containing 12.5 mg or 25 mg of hydrochlorothiazide and 160 mg
 Valsartan or a pharmaceutically acceptable Salt thereof valsartan and 12.5 mg or 25 mg of hydrochlorothiazide. The
 optionally in combination with HCTZ which can be pro 35 weight ratio of Valsartan or a pharmaceutically acceptable
 duced according to a reliable and robust process, which Solid salt thereof to hydrochlorothiazide is from about 1:6 to about
 oral dosage form is Small relative to the amount of active 42: 1, more preferably 2:1 to 13:1, most preferably 2:1 to
 agent used. Said Solid oral dosage forms are Smaller, for a 10:1.
 given amount of active agent, than any known formulations 40 The present invention particularly relates to a Solid oral
 of this active Substance.                                          dosage form, which contain as the active agent a) a unit dose
    According to the invention there is provided a Solid oral   between about 10 and 250 mg, especially between about 50
 dosage form comprising                                         and 100 mg, of Valsartan or a pharmaceutically acceptable
   a) an active agent containing an effective amount of Salt thereof, and a unit dose between about 6 and 60 mg,
     Valsartan or a pharmaceutically acceptable Salt thereof 45 especially between about 10 and 30 mg, of hydrochlorothi
      and                                                           azide.
   b) pharmaceutically acceptable additives Suitable for the          An especially preferred embodiment of the invention is a
      preparation of Solid oral dosage forms by compression         Solid oral dosage form, which contain as the active agent a)
       methods
                                                                  a unit dose of about 80 mg or 160 mg of Valsartan or a
 preferably wherein the active agent is present in an amount 50 pharmaceutically     acceptable Salt thereof, and a unit dose of
 of more than 35% by weight, preferably more than 50% by about 12.5 mg hydrochlorothiazide.
 weight based on the total weight of the Solid oral dosage
 form. In particular, the amount of active agent may be              The preparation of Valsartan is described in the U.S.
 present in an amount of from 45 to 65% by weight, e.g. 57 patent specification No. 5,399,578 which is incorporated
 to 62% by weight.                                             55 herein by reference. A pharmaceutically acceptable Salt of
    Solid oral dosage forms according to the invention pro Valsartan can be prepared in a manner known per se. Thus
 vide for the administration of the active Substance in a         for example, acid addition Salts are obtained by treatment
 Smaller oral form than was heretofore possible for a given with an acid or a Suitable ion exchange agent. Such Salts can
 unit dose of active agent. Furthermore, the oral dosage forms 60 be converted to free acid in a conventional manner by
 obtained are stable both to the production process and during treatment with a Suitable basic agent.
 Storage, e.g. for 2 years in conventional packaging, e.g.           Valsartan is preferably in its free form, that is, not in one
 Sealed aluminium blister packS.                                  of its salt forms.
    By “effective amount' is meant the amount of active agent        Hydrochlorothiazide is a known therapeutic agent which
 which halts or reduces the progreSS of the condition being 65 is useful in the treatment of hypertension.
 treated or which otherwise completely or partly cures or acts      A Solid oral dosage form according to the invention
 palliatively on the condition. Such an amount can be easily comprises additives conventional in the dosage form in
Case 1:19-md-02875-RMB-SAK                          Document 296-14                Filed 11/18/19            Page 4 of 11
                                                     PageID: 3882

                                                      US 6,294,197 B1
                               3                                                                 4
 question. Tabletting aids, commonly used in tablet formu          be chosen by the skilled artisan by routine experimentation
 lation can be used and reference is made to the extensive         without undue burden. For example, the Solid oral dosage
 literature on the Subject, See in particular Fiedler's "Lexicon   form may be chosen to exhibit accelerated and/or delayed
 der Hilfstoffe', 4th Edition, ECV Aulendorf 1996 which is         release of the active agent with or without quantitative
 incorporated herein by reference. These include but are not       control of the release of active agent.
 limited to disintegrants, binders, lubricants, glidants, Stabi       Thus, where accelerated release is desired, e.g. about 90%
 lising agents, fillers or diluents, Surfactants and the like.     release within a ten minute, more particularly a five minute
    AS disintegrants one can particularly mention CMC-Ca,          period, a disintegrant Such as crosslinked polyvinyl
 CMC-Na, crosslinked PVP (Crospovidone, Polyplasdone of            pyrrollidone, for example those products known under the
 Kollidon XL), Alginic acid, Sodium alginate and guar gum,         registered trade marks Polyplasdone(R XL or Kollidon(R) CL,
 most preferably crosslinked PVP, Crospovidone, crosslinked        in particular having a molecular weight in excess of
 CMC and Ac-Di-Sol.                                                1000000, more particularly having a particle size distribu
    AS binders one can particularly mention Starches, e.g. tion of less than 400 microns or less than 74 microns, or
 potato Starch, wheat Starch, corn Starch, microcrystalline 15 reactive additives (effervescent mixtures) that effect rapid
 cellulose, e.g. products known under the registered trade disintegration of the tablet in the presence of water, for
 marks Avicel, Filtrak, Heweten or Pharmacel, hydroxypro example So-called effervescent tablets that contain an acid in
 pyl cellulose, hydroxyethyl cellulose and hydroxypropylm Solid form, typically citric acid, which acts in water on a
 ethyl cellulose, e.g. hydroxypropyl cellulose having a base containing chemically combined carbon dioxide, for
 hydroxypropyl content of 5 to 16% by weight and a Mw of example Sodium hydrogencarbonate or Sodium carbonate,
 from 80000 to 1150000, more particularly 140 000 to 850 and releases carbon dioxide.
 OOO.                                                                Whereas if delayed release is desired one can employ
    AS glidants one can mention in particular colloidal Silica, pellet coating technology, wax matrix Systems, polymer
 e.g. Aerosil, magnesium trisilicate, powdered cellulose, 25 matrix tablets or polymer coatings conventional in the art.
 Starch, talc and tribasic calcium phosphate.                        Quantitative control of the release of the active agent can
    AS fillers or diluents one can mention confectioner's         be achieved by conventional techniques known in the art.
 Sugar, compressible Sugar, dextrates, dextrin, dextrose, Such dosage forms are known as oral Osmotic Systems
 lactose, mannitol, microcellulose, in particular having a (OROS), coated tablets, matrix tablets, press-coated tablets,
 density of about 0.45 g/cm, e.g. Avicel, powdered cellulose, multilayer tablets and the like.
 Sorbitol, Sucrose and talc.                                         In a Solid oral dosage form wherein the active agent
    As lubricants one can mention in particular Mg, Al or Ca consist entirely of Valsartan or a pharmaceutically accept
 stearate, PEG 4000–8000 and talc.                                able Salt thereof, preferred additives are microcrystalline
    One or more of these additives can be Selected and used 35 cellulose, hydroxypropylcellulose, carboxymethylcellulose
 by the Skilled artisan having regard to the particular desired (CMC) or CMC-Ca, Mg, Ca or Al stearate, anhydrous
 properties of the Solid oral dosage form by routine experi colloidal Silica and talc. The amounts of additive employed
 mentation and without any undue burden.                          will depend upon how much active agent is to be used. The
    The amount of each type of additive employed, e.g. 40 Stearate, e.g. MgStearate is preferably employed in amounts
 glidant, binder, disintegrant, filler or diluent and lubricant of 1.0 to 5.0% by weight, e.g. 1.5% to 3.0% by weight.
 may vary within ranges conventional in the art. Thus for Whereas the silica is preferably employed in an amount of
 example, the amount of glidant may vary within a range of from 0.5 to 10% by weight.
 from 0.1 to 10% by weight, in particular 0.1 to 5% by               In a Solid oral dosage form wherein the active agent
 weight, e.g. 0.1 to 0.5% by weight; the amount of binder 45 consists of a combination of both Valsartan or a pharmaceu
 may vary within a range of from about 10 to 45% by weight, tically acceptable salt thereof and HCTZ it is preferred to
 e.g. 20 to 30% by weight; the amount of disintegrant may employ additives Selected from any of those additives
 vary within a range of from 2 to 20% by weight, e.g. 15% recited in the previous paragraph and crosslinked polyvi
 by weight; the amount of filler or diluent may vary within a 50 nylpyrollidone. The Stearate is preferably employed in an
 range of from 15 to 40% by weight; whereas the amount of amount of from 1 to 5% by weight, e.g. 3%. The cellulose
 lubricant may vary within a range of from 0.1 to 5.0% by material, e.g. microcrystalline cellulose is preferably present
 weight.                                                          in an amount of 10 to 30%, e.g. 21%. The silica is preferably
    It is a characteristic of the present Solid oral dosage forms present in an amount of from 0.5 to 10%, e.g. 1% by weight.
 that they contain only a relatively Small amount of additives 55 The crosslinked polyvinylpyrolidone is preferably present in
 given the high content of active agent. This enables the an amount of from 10 to 20%, e.g. about 13% by weight.
 production of physically Small unit dosage forms. The total Particularly preferred Solid oral dosage forms contain as
 amount of additives in a given unit dosage may be about additives microcrystalline cellulose and crosslinked polyvi
 65% or less by weight based on the total weight of the solid nylpyrrolidone (PVP).
 oral dosage form, more particularly about 50% or less. 60 The Solid oral dosage forms according to the present
 Preferably the additive content is in the range of about 35 to invention may be in the form of dragees in which case the
 55% by weight, more particularly 45 to 55% by weight, e.g. Solid oral dosage form is provided with a coating typically
 38 to 43% by weight.                                             a Sugar, shellac or other film coating entirely conventional in
   The absolute amounts of each additive and the amounts 65 the art. Attention is drawn to the numerous known methods
 relative to other additives is similarly dependent on the         of coating employed in the art, e.g. Spray coating in a
 desired properties of the Solid oral dosage form and may also     fluidized bed, e.g. by the known methods using apparatus
Case 1:19-md-02875-RMB-SAK                         Document 296-14                 Filed 11/18/19            Page 5 of 11
                                                    PageID: 3883

                                                    US 6,294,197 B1
                              S                                                                  6
 available from Aeromatic, Glatt, Wurster or Hittlin, in a out using a Slugging technique or preferably, roller compac
 perforated pan by the Accela Cota method, or to the Sub tion. Roller compaction apparatus is conventional and essen
 merged Sword coating method. The additives commonly tially utilises two rollers which roll towards each other. A
 used in confectioning are employed in Such methods.             hydraulic ram forces one of the rollers against the other to
    The Solid oral dosage forms of the present invention are exert a compacting force against the ground particles fed
 useful for lowering the blood pressure, either Systolic or into the roller compactor via a Screw conveyor System.
 diastolic or both. The conditions for which the instant            A compaction force of between 25 and 65 kN is preferably
 invention is useful include, without limitation, hypertension used. Within this range of compaction forces it has Surpris
 (whether of the malignant, essential, reno-vascular, diabetic, ingly been found that for each particular formulation a
 isolated Systolic, or other Secondary type), congestive heart minimum compaction force should be used in order to
 failure, angina (whether stable or unstable), myocardial obtain a Solid oral dosage form wherein the granulate
 infarction, arteriosclerosis, diabetic nephropathy, diabetic disintegrates into discrete primary particles at a desirable
 cardiac myopathy, renal insufficiency, peripheral vascular rate, e.g. disintegration occurs approximately six times
 disease, left Ventricular hypertrophy, cognitive dysfunction 15
 (Such as Alzheimer's) and stroke.                               faster for a Solid oral dosage form compressed above a
    The exact dose of active agent and the particular formu minimum compaction force. Such a rapind disintegration
 lation to be adminstered depend on a number of factors, e.g. rate is unusual for tablets and is similar to the disintegration
 the condition to be treated, the desired duration of the        rate of a capsule formulation. The particular minimum
 treatment and the rate of release of the active agent. For compaction force is dependent on the active agent content in
 example, the amount of the active agent required and the any given formulation and therefore also depends on the
 release rate thereof may be determined on the basis of amount and nature of the additives present.
 known in vitro or in Vivo techniques, determining how long         A Solid oral dosage form containing an active agent
 a particular active agent concentration in the blood plasma 25  consisting  of 80 mg Valsartan and 12.5 mg HCTZ, and
 remains at an acceptable level for a therapeutic effect.        appropriate  additives in appropriate quantities is preferably
    The invention provides in another of its aspects a proceSS made by a proceSS wherein the compaction force used to
 of making a Solid oral dosage form as hereinabove produce the coprimate is at least 30 kN. Appropriate addi
 described. Such Solid oral dosage form may be produced by tives in appropriate quantities for this active agent may be
 working up components a) and b) defined hereinabove in 31.5 mg microcrystalline cellulose, 1.5 mg anhydrous col
 appropriate amounts, to form unit dosage forms.                 loidal Silica, 4.5 mg magnesium Stearate and 20 mg
    In a preferred embodiment there is provided a process of crosslinked PVP.
 making the Solid oral dosage forms as hereinabove described        A Solid oral dosage form comprising a unit dose of 160
 comprising the Steps of                                         mg Valsartan and 12.5 mg HCTZ, and appropriate additives
    i) grinding the active agent and pharmaceutically accept 35 in appropriate quantities is preferably made by a process
        able additives,                                          wherein the compaction force used to produce the coprimate
    ii) Subjecting a mixture of the ground active agent and is at least 25 kN. Appropriate additives in appropriate
        additives to compression to form a coprimate             quantities for this active agent may be 75.5 mg microcrys
    iii) converting the coprimate to form a granulate and 40 talline cellulose, 3.0 mg anhydrous colloidal Silica, 9.0 mg
    iv) compressing the granulate to form the Solid oral magnesium Stearate and 40 mg, croSSlinked PVP.
       dosage form.                                                 Given this information, the skilled addressee would
    The process is carried out in the absence of water, i.e. it clearly be able to determine the minimum compaction force
 is a dry compression method.                                    for other formulations using routine experimentation and
    The proceSS may be carried out under ambient conditions 45 without undue burden.
 of temperature and humidity; it is not necessary to ensure         The roller speed is set at between 1 and 15 rpm and is
 that the process is carried out in a dry atmosphere.            preferably 1.3 to 7.5 rpm. After passing through the rollers
   The initial grinding step i) may be carried out according       the compacted mass (the coprimate) resembles a thin ribbon
 to conventional milling methods or micronisation methods. 50 in Segments.
    The active agent and the additives can be milled either           The coprimate may be Screened and or milled to produce
 individually or together to particle sizes from about 0 it to the granulate. Screening in its simplest form involves the
 about 200 u, preferably 1.0 u to 100 u. At least 90% of the passing of the coprimate emerging from the rollers through
 crystals of both the active agent and the additives are present a Seive under mechanical pressure. More preferably, the
 in these ranges. Particles of this size are obtained by 55 coprimate is Screened using an oscillating mill, e.g. a MGI
 conventional comminution methods, e.g. grinding in an air 624 Frewitt (Key International Inc.).
 jet mill, hammer and Screen mill, fine impact mill, ball mill        The granulate thus formed has a rather wide particle Size
 or vibrator mill.                                                 distribution e.g. from 9 to 340 microns. At this stage of the
    Micronisation is preferably effected by known methods roller compaction process it is conventional to Sort the
 using an ultrasonic disintegrator, e.g. of the BRANSON 60 under-sized and over-sized particles and remove them from
 Sonifier type, or by Stirring a Suspension with a high Speed the granulate for recycling or recirculation. Thus removed
 agitator, for example with a stirrer of the HOMOREX type. the over-and under-sized particles are typically compacted
    The ground particles may optionally at this stage be an additional one or more times in order to obtain the desired
 Sieved and mixed according to known methods.                   65 particle size distribution of the granulate. Such a process is
    Compression to form a coprimate requires the compaction time consuming and therefore increases the cost of manu
 of the dry ground components. Compaction may be carried facture of Solid oral dosage forms. Furthermore, the addi
Case 1:19-md-02875-RMB-SAK                          Document 296-14                 Filed 11/18/19             Page 6 of 11
                                                     PageID: 3884

                                                     US 6,294,197 B1
                                7                                                                    8
 tional passes through the roller compactor under Such high                                    EXAMPLE 1.
 compaction forces can have deleterious effects on the active
 agent and also render the granulate leSS Suitable for com
 pression into the Solid oral dosage form.                            Formula
    It has been found however, that the granulate first emerg         valsartan                               80.0 mg (53.3%)
 ing from the roller compactor after Screening or milling and         hydrochlorothiazide                     12.5 mg (8.3%)
 containing both Over-and under-sized particles can in fact be        colloidal anhydrous silica AEROSIL       1.5 mg (1.0%)
 compressed to form Solid oral dosage forms without affect            microcrystalline cellulose AVICEL       31.5 mg (21.0%)
                                                                      polyvinylpyrrolidone CROSPOVIDONE       20.0 mg (13.3%)
 ing the properties of the Solid oral dosage form.             1O     magnesium stearate                       4.5 mg (3.0%)
    The compression of the granulates to tablet cores can be                                                 150.0 mg
 carried out in a conventional tabletting machine, e.g. in an
 EK-0 Korsch eccentric tabletting machine or a rotary com
 pression machine, preferably at a compression greater than 15 Method
 2 kN. The tablet cores may vary in shape and be, for               The components except for a portion of the magnesium
 example, round, oval, oblong, cylindrical or any other Stearate are blended in a container mixer. The blended
 Suitable shape, and may also vary in size depending on the material is Sieved and pre-blended for an additional period
 concentration of the therapeutic agents. A characteristic of of time in a container mixer. The blended material is com
 tablets according to the invention is their Small size having pacted using a roller compactor (BepeX Pharmapaktor L
 regard to the amount of active agent contained therein.
    In a preferred embodiment of the invention tablets 200/50 P, Hosokawa Micron Group) by applying a compac
 obtained by the compression method described above are tion force of 25-65 kN and a roller speed of 1.3-7.5 rpm.
 slightly oval. The edges of the tablets may be bevelled or 25 The compacted material is Sieved again and the remaining
 rounded.                                                         portion of the magnesium Stearate is added and final blended
    In a particularly preferred embodiment of the invention a in a container mixer. Then 150 mg of the homogenous
 Solid oral dosage form is compressed in the form of a tablet mixture is compressed into tablets using OValoid punches
 having an oblong shape in which the ratio of dimensions (10x5.2 mm). The tablets obtained have a length of
 length:width:height is 2.5-5.0:0.9-2.0:1.0 and preferably in     10.0-10.2 mm, a width of 5.2-5.4 mm and a height of
 which the base and top face of the tablet independently of 3.3-3.9 mm.
 one another are planar or convexly curved about the longi
 tudinal axis, the Side faces are planar, the end faces can be                                EXAMPLE 1 a
 of any shape and the edges are optionally bevelled or 35
 rounded.                                                           A Solid oral dosage form prepared according to Example
    In a particularly preferred embodiment of the invention a 1 is coated with a film coating formulation:
 Solid oral dosage form is compressed, from the granulate, in
 the form of a tablet of oblong shape in which the length is 40
 approximately 10.0 to 11.0 mm, the width approximately 5.0                Cellulose H-P-M683                 2.76 mg
 to 6.0 mm and the height approximately 3.0 to 4.0 mm.                     Fe Oxide (Yellow) 17268              O.O25
    In another particularly preferred embodiment of the                    Fe Oxide (Red) 17266                 O.O25
 invention a Solid oral dosage form is compressed from                     PEG 8000 (flakes)                    0.5
                                                                           Tac PH                               2.O
 granulates in the form of a tablet of oblong shape in which 45            Titanium dioxide PH                  O.7
 the length is approximately 15.0 to 16.0 mm, the width                    Deionised water                      2.5
 approximately 6.0 to 7.0 mm and the height approximately                  Ethanol + 5% Isopropyl alcohol      2O.O
 3.5 to 5.0 mm.
    In yet another preferred embodiment of the invention Method
 there is provided a tablet which is essentially disc-shaped 50
 with the upper and lower faces having a slightly convex               The PEG and cellulose are dissolved in the deionised
 surface. Preferably the tablet has a diameter of about 8 to 8.5    water.  The remaining components are Suspended in the
 mm and a depth of about 3 to 3.5 mm, or a diameter of about resulting Solution. A spray coater apparatus (Dria-coater
 16 mm and a depth of about 6 mm. The tablets may occupy 55 DRC-500, Powrex Ltd) is charged with the solid oral dosage
 a volume from about 0.1 cm to about 0.45 cm, more form of Example 1. The coating formulation is sprayed into
 particularly 0.2 to 0.3 cm, e.g. about 0.125 cm or 0.25 cm. the Solid oral dosage form rotating in the apparatus at 6-12
    They may furthermore be transparent, colourleSS or rpm. Spray pressure is 1.9–2.2 Kg/cm and the spray rate is
 coloured and also marked So as to impart to this product an 60 5.9–7.9 g/min.
 individual appearance and to make them instantly recogniz             Thereafter the coated Solid oral dosage form is dried in the
 able. The use of dyes can Serve to enhance the appearance coater          apparatus at a temperature of 40 C. until a moisture
 as well as to identify the compositions. Dyes Suitable for use
                                                                    content
 in pharmacy typically include carotinoids, iron oxides or by weight.       in the coated Solid oral dosage form is less than 2.5%
 chlorophyll.                                                    65
    There now follows a series of examples which serve to              The tablets obtained have a length of 10.1-10.3 mm, a
 illustrate the invention.                                          width of 5.3–5.5 mm and a height of 3.4-4.0 mm
Case 1:19-md-02875-RMB-SAK                            Document 296-14                     Filed 11/18/19        Page 7 of 11
                                                       PageID: 3885

                                                           US 6,294,197 B1
                                9                                                                 10
                            EXAMPLE 2                                   punches (10x5.2 mm). The tablets obtained have a diameter
                                                                        of 8.5 mm and a thickness of 3.9 mm.
                                                                                                  EXAMPLE 3A
     Formula
     valsartan                                  160.0 mg (53.3%)
     hydrochlorothiazide                         12.5 mg (8.3%)                    Film Coating
     colloidal anhydrous silica AEROSIL           3.0 mg (1.0%)
     microcrystalline cellulose AVICEL           75.5 mg (21.0%)                   Titanium dioxide             1.00 mg
     polyvinylpyrrolidone CROSPOVIDONE           40.0 mg (13.3%)                   TC-5R*                       3.68 mg
     magnesium stearate (FAC I)                   9.0 mg (3.0%)                    PEG 6OOO                     0.66 mg
                                                                                   Talc                         2.66 mg
                                                300.0 mg
                                                                                                                8.00 mg

   A 300.0 mg tablet is formed according to the method 15 * = hydroxypropylmethyl cellulose.
 described in Example 1. The tablets obtained have a length Method
 of 15.0-15.2 mm, a width of 6.0–6.2 mm and a height of       The film coating is applied to the Solid oral dosage form
 3.9–4.7 mm.                                                of Example 3 according to the methodology of Example 1 A.
                                                                          The coated tablet has a diameter of 8.6 mm and a
                            EXAMPLE 2a                                  thickness of 4.0 mm.
   A Solid oral dosage form according to Example 2 is coated              What is claimed is:
 with a composition (see formulation below) according to the              1. A compressed Solid dosage form comprising
 methodology of Example 1 a.                                              a) an active agent containing an effective amount of
                                                                   25       Valsartan or a pharmaceutically acceptable Salt thereof;
                                                                            and,
                                                                          b) at least one pharmaceutically acceptable additive
          Formulation                                      wherein the active agent is present in an amount of more
        Cellulose H-P-M683                    5.51 mg      than 35% by weight based on the total weight of the
        Fe Oxide (Red) 17266                    0.75       compressed Solid dosage form.
        PEG 8000 (flakes)                        1.O         2. A Solid oral dosage form according to claim 1 wherein
        Tac PH                                  3.99       the active agent is present in an amount of more than 50%
        Titanium dioxide PH                     0.75
        Deionised water                         5.0        by weight.
        Ethanol + 5% Isopropyl alcohol         40.O          3. A compressed Solid dosage form according to claim 1
                                                        35 wherein the active agent is present in an amount ranging

   The tablets obtained have a length of 15.1-15.3 mm, a from 4.
                                                                 57 to 62% by weight.
                                                                 A compressed Solid dosage form according to claim 1
 width of 6.1-6.3 mm and a height of 4.0–4.8 mm.
                                                           wherein the active agent consists entirely of Valsartan or a
                          EXAMPLE 3                     40
                                                           pharmaceutically acceptable Salt thereof in a dosage of from
                                                           between about 10 and 250 mg.
                                                              5. A compressed Solid dosage from according to claim 1
        Formula
                                                           wherein  the dosage range is from 40 to 160 mg.
                                                              6. A compressed Solid dosage from according to claim 1
        valsartan                      80.0 mg (40%)    45 wherein the dosage is 40 mg, 80 mg or 160 mg.
        AEROSIL 200                    10.0 mg (5%)
        L-HPC* L-11                    87.0 mg (43%)          7. A compressed Solid dosage form according to claim 1
        Magnesium Stearate              3.0 mg (1.5%)      wherein the active agent consists of an effective amount of
        AVICEL PH-301                  10.0 mg (5%)        Valsartan or a pharmaceutically acceptable Salt thereof and
        L-HPC* L-21                     5.0 mg (2.5%)
          AEROSIL 200                       1.0 mg (0.5%)          50
                                                                        an effective amount of hydrochlorothiazide (HCTZ).
          Talc                              2.0 mg (1.0%)                  8. A compressed Solid dosage form which comprises an
          Magnesium Stearate                2.0 mg (1.0%)               effective amount of Valsartan or a pharmaceutically accept
                                          200.0 mg                      able Salt thereof, an effective amount of HCTZ; and,
 *hydroxypropyl cellulose
                                                                  at least one pharmaceutically acceptable additive.
                                                                  9. A compressed Solid dosage form according to claim 8
                                                                   55
 Method                                                         comprising a unit dose of about 10 to 250 mg of Valsartan
    The components (above the line) are blended in a con or a pharmaceutically acceptable Salt thereof and a unit dose
 tainer mixer. The blended material is sieved and pre-blended of about 6 to 60 mg HCTZ.
 for an additional period of time in a container mixer.The        10. A compressed Solid dosage form according to claim 8
 blended material is compacted using a roller compactor 60 comprising a unit dose of about 50 to 100 mg of Valsartan
 (Bepex Pharmapaktor L200/50 P, Hosokawa Micron Group) or a pharmaceutically acceptable Salt thereof and a unit dose
 by applying a compaction force of 25-65 kN and a roller of about 10 to 30 mg of HCTZ.
 speed of 1.3-7.5 rpm. The compacted material is sieved           11. A compressed Solid dosage form according to claim 8
 again and the components below the line are added and final 65 comprising a unit dose of about 80 to 160 mg of Valsartan
 blended in a container mixer. Then 200 mg of the homog or a pharmaceutically acceptable Salt thereof and a unit dose
 enous mixture is compressed into tablets using ovaloid of about 12.5 mg or 25 mg of HCTZ.
Case 1:19-md-02875-RMB-SAK                        Document 296-14                Filed 11/18/19            Page 8 of 11
                                                   PageID: 3886

                                                    US 6,294,197 B1
                               11                                                               12
    12. A compressed Solid dosage form according to claim 8          ii) Subjecting the mixture to compression to form a
 which comprises microcrystalline cellulose as a pharmaceu              coprimate,
 tically acceptable additive.                                        iii) converting the coprimate into a granulate; and,
    13. A compressed Solid dosage form according to claim 8          iv) compressing the granulate to form the compressed
 which comprises crosslinked polyvinylpyrrolidone (PVP) as 5            Solid dosage form.
 a pharmaceutically acceptable additive.                             30. A process according to claim 29 wherein the com
    14. A compressed Solid dosage from according to claim 12 pression step ii) is carried out using roller compaction or
 wherein the microcrystalline cellulose is present in an Slugging techniques.
 amount of from 15 to 25% by weight.                                 31. A process according to claim 29 wherein step iii) is
    15. A compressed Solid dosage form according to claim 13 carried out by Screening or milling the coprimate.
 wherein the crosslinked PVP is present in an amount of from         32. A process according to claim 29 wherein the granulate
 10 to 30% by weight.                                             is compressed without first being Sized.
    16. A compressed Solid dosage form according to claim 8          33. A process according to claim 29 wherein the granulate
 in the form of a tablet.                                      15
                                                                  is formed   under a pressure of from about 25 to about 65 kN.
    17. A compressed Solid dosage form according to claim 8          34. Coprimates obtained by roller compaction or Slugging
 in the form of a dragee.                                         according to claim 30.
    18. A process of forming a compressed Solid dosage form          35. Granulate obtained according to the process according
 containing more than 35% by weight of Valsartan or a to claim 29.
 pharmaceutically acceptable Salt thereof and at least one           36. A compressed Solid dosage form produced according
 pharmaceutically acceptable additive wherein the proceSS         to  the process as defined in claim 29.
 comprises the Steps of:                                             37. A method of treating hypertension, congestive heart
    i) blending the Valsartan and at least one pharmaceutically failure, angina, myocardial infarction, arteriosclerosis, dia
        acceptable additive to form a mixture;                    betic nephropathy, diabetic cardiac myopathy, renal
                                                               25 insufficiency, peripheral vascular disease, Stroke, left ven
    ii) Subjecting the mixture to compression to form a
       coprimate;                                                 tricular hypertrophy, cognitive dysfunction, headache, or
    iii) converting the coprimate into a granulate; and,          chronic heart failure, wherein the method comprises admin
    iv) compressing the granulate to form the compressed istering a compressed Solid dosage form as defined in claim
       Solid dosage form.                                         8 to a host in need of Such treatment.
    19. A process according to claim 18 wherein the com              38. A compressed Solid dosage form according to claim 1
 pression step ii) is carried out using roller compaction or wherein the dimension ratio of the dosage forms length
 Slugging techniques.                                             :width:height is 2.5-5.0:0.9–2.0:1.0.
    20. A process according to claim 18 wherein step iii) is         39. A compressed Solid dosage form according to claim 1
 carried out by Screening or milling the coprimate.            35 wherein the dosage form has a length of approximately 10
    21. A process according to claim 18 wherein the granulate to 11 mm, a width of approximately 5.0-6.0 mm and a
 is compressed without first being Sized.                         height of approximately 3.0-4.0 mm.
    22. A process according to claim 18 wherein the granulate        40. A compressed Solid dosage form according to claim 1
 is formed under a pressure of from about 25 to about 65 kN. 40 wherein the dosage form has a length of approximately
    23. Coprimates obtained by roller compaction or Slugging      15.0-16.0 mm, a width of approximately 6.0–7.0 mm and a
 according to claim 19.                                           height of approximately 3.5 to 5.0 mm.
    24. Granulate obtained according to the process according        41. A compressed Solid dosage form according to claim 1
 to claim 18.                                                     wherein the dosage form has a diameter of about 8 to 8.5 mm
    25. A compressed Solid dosage form produced according 45 and a depth of about 3 to 3.5 mm.
 to the process as defined in claim 18.                              42. A compressed Solid dosage form according to claim 1
    26. A method of treating hypertension, congestive heart wherein the dosage form has a diameter of about 16 mm and
 failure, angina, myocardial infarction, arteriosclerosis, dia a depth of about 6 mm.
 betic nephropathy, diabetic cardiac myopathy, renal 50 43. A compressed Solid dosage form according to claim 8
 insufficiency, peripheral vascular disease, left ventricular wherein the dimension ratio of the dosage forms length
 hypertrophy, cognitive dysfunction, headache, or chronic :width:height is 2.5-5.0:0.9–2.0:1.0.
 heart failure, wherein the method comprises administering a         44. A compressed Solid dosage form according to claim 8
 Solid oral dosage form as defined in claim 1 to a host in need wherein the dosage form has a length of approximately 10
 of Said treatment.                                            55 to 11 mm, a width of approximately 5.0-6.0 mm and a
    27. A compressed Solid dosage form according to claim 1 height of approximately 3.0-4.0 mm.
 in the form of a tablet.                                            45. A compressed Solid dosage form according to claim 8
    28. A compressed Solid dosage form according to claim 1 wherein the dosage form has a length of approximately
 in the form of a dragee.                                         15.0-16.0 mm, a width of approximately 6.0–7.0 mm and a
    29. A process of forming a compressed Solid dosage from 60 height of approximately 3.5 to 5.0 mm.
 containing more than 35% by weight of Valsartan or a                46. A compressed Solid dosage form according to claim 8
 pharmaceutically acceptable Salt thereof, an effective wherein the dosage form has a diameter of about 8 to 8.5 mm
 amount of HCTZ and at least one pharmaceutically accept and a depth of about 3 to 3.5 mm.
 able additive wherein the proceSS comprises the Steps of 65 47. A compressed Solid dosage form according to claim 8
    i) blending the Valsartan, HCTZ and at least one pharma wherein the dosage form has a diameter of about 16 mm and
       ceutically acceptable additive to form a mixture;          a depth of about 6 mm.
Case 1:19-md-02875-RMB-SAK                    Document 296-14             Filed 11/18/19           Page 9 of 11
                                               PageID: 3887

                                               US 6,294,197 B1
                           13                                                           14
   48. The process according to claim 18 wherein the blend     52. A method of treating according to claim 26 wherein
 ing Step includes grinding.                                the compressed Solid dosage form is orally administered to
   49. The process according to claim 29 wherein the blend the host.
 ing Step includes grinding.                                  53. A method of treating according to claim 37 wherein
   50. The process of claim 18 wherein the coprimate is 5 the compressed Solid dosage form is orally administered to
 formed by compression in the absence of water.            the host.
   51. The process of claim 29 wherein the coprimate is
 formed by compression in the absence of water.
   Case 1:19-md-02875-RMB-SAK                       Document 296-14               Filed 11/18/19            Page 10 of 11
                                                     PageID: 3888
                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.       : 6.294,197 B1                                                               Page 1 of 2
DATED       : September 25, 2001
INVENTOR(S) : Robert Frank Wagner et al.

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:


        Title page,
        Item 57, ABSTRACT,
        Lines 1 thru 4, Should read
        -- The present invention is concerned with Solid oral dosage forms comprising a) an
        active agent selected from Valsartan and optionally HCTZ, and b) pharmaceutically
        acceptable additives suitable for the preparation of Solid oral dosage forms by
        compression methods. --
        Column 5
        Line 52, should read -- individually or together to particle sizes from about 0.1 u to --
        Column 6
        Line 15, Should read -- minimum compaction force. Such a rapid disintegration --
        Line 49, should read -- a sieve under mechanical pressure. More preferably, the --
        Column 9
        Example 3, table should read

                    Formula

                    Valsartan                              80.0 mg (40%)
                    AEROSOL 200                            10.0 MG (5%)
                    L-HPC* L-11                            87.0 mg (43%)
                    Magnesium Stearate                      3.0 mg (1.5%)

                    AVICEL PH-301                          10.0 mg (5%)
                    L-HPC* L-21                             5.0 mg (2.5%)
                    AEROSIL 200                             1.0 mg (0.5%)
                    Talc                                    2.0 mg (1.0%
                    Magnesium Stearate                      2.0 mg (1.0%)
                                                          200.0 mg
          *hydroxypropyl cellulose
   Case 1:19-md-02875-RMB-SAK                       Document 296-14                  Filed 11/18/19              Page 11 of 11
                                                     PageID: 3889
                  UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.        : 6.294,197 B1                                                                   Page 2 of 2
DATED       : September 25, 2001
INVENTOR(S) : Robert Frank Wagner et al.

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:


        Column 10
        Line 31, Should read -- A compressed Solid oral dosage from according to claim 1
        wherein --
        Lines 42 and 44, Should read -- A compressed Solid dosage form according to claim 1 --
        Column 11
        Line 7, Should read -- A compressed Solid dosage form according to claim 12 --
        Line 47, Should read -- inSufficieny, peripheral Vascular disease, Stroke, left Ventricular --
        Line 50, should read -- compressed Solid dosage form as defined in claim 1 to a host in
        need --
        Line 51, Should read -- of Such treatment. --
        Line 56, Should read -- A proceSS of forming a compressed Solid dosage form --




                                                                    Signed and Sealed this
                                                              Ninth Day of September, 2003




                                                                             JAMES E ROGAN
                                                             Director of the United States Patent and Trademark Office
